        Case 4:11-cr-00119-SWW Document 49 Filed 08/29/12 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                                NO. 4:11CR00119-002 SWW

MIESHA G. COATES



                                           ORDER

       Pending    before    the    Court    is   government's       motion   to   dismiss

indictment against defendant Miesha G. Coates pursuant to Rule 48(a).

       IT IS SO ORDERED that the government’s motion to dismiss indictment

[doc   #48]   against      the    above-named      defendant   be    GRANTED,     and   the

indictment pending against defendant Miesha Coates is dismissed without

prejudice.

       DATED this 29th day of August 2012.



                                                   /s/Susan Webber Wright

                                                   UNITED STATES DISTRICT JUDGE
